                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

In re:

         Dawn DiMaria,                                        Case No. 18-43848
                                                              Chapter 7
                  Debtor(s).                                  Hon. Maria L. Oxholm
_____________________________________/


                     Order Granting Payment of Filing Fee in Installments

         After considering the Application for Individuals to Pay the Filing Fee in Installments

(Official Form B 3A), the court orders that the debtor(s) pay:

         $83.75 on or before 4/20/2018

         $83.75 on or before 5/18/2018

         $83.75 on or before 6/15/2018

         $83.75 on or before 7/18/2018

         Total: $335.00

         Until the filing fee is paid in full, the debtor(s) must not make any additional payment or

transfer any additional property to an attorney or to anyone else for services in connection with this

case.

Signed on March 22, 2018




   18-43848-mlo       Doc 8     Filed 03/22/18     Entered 03/22/18 11:45:41         Page 1 of 1
